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BROIDY CAPITAL MANAGEMENT
LLC, ELLIOTT BROIDY, and ROBIN
ROSENZWEIG,

Plaintiffs,
v.
STATE OF ATAR, STONINGTON
STRATEGIE LLC, NICOLAS D.
MUZIN, and DOES 1-10,

Defendants.

Amy L. Neuhardt (pro hac vice pending)

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

Case No. 2:18-CV-02421-JFW-(Ex)
The Honorable John F. Walter

MEMoRANl)UM 0F P01NTS AND
AUTHORITIES IN sUPPoRT 0F
PLAINTIFFS’ EX PARTE
APPLICATIQN F0R
g TEMPoRARY RESTRAINING
ER AGAINST DEFENDANTS-
§)2 ORDER T0 sHoW CAUSE Foiz
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AND 3) 0R1)ER GRANTING
EXPE ITEI) DISCOVERY

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Tenery,and ee Wolosky with
Exhiblts; [Proposed Temporary
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MEMO OF P’S AND A’S ISO PLAINTIFFS’ EX PARTE APP FOR TEMPORARY RESTRAINING ORDER, ORDER
TO SHOW CAUSE FOR PRELIMINARY INJUNCTION, AND ORDER GRANTING EXPEDITED DISCOVERY

 

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Injunction, and Order Granting
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I. INTRODUCTION

Plaintiffs are the targets of a deliberate campaign by Defendants to discredit
Plaintiffs and destroy their reputations and businesses, in particular those of Plaintiff
Elliott Broidy. Defendants have hacked, stolen, and altered data and information
from Plaintiffs’ computers and computer accounts, and disseminated that data and
information to media organizations Defendants’ actions have caused and continue
to cause Plaintiffs irreparable harm.

Pursuant to Federal Rule of Civil Procedure 65 and Local Rule 65-l ,
Plaintiffs move this Court for a temporary restraining order and preliminary
injunction prohibiting Defendants, as well as each and every one of their officers,
agents, employees, representatives, and all persons acting in concert with them,
from (l) accessing or causing access to Plaintiffs’ computers, computer servers,
emails, or internet accounts; (2) adding, altering, damaging, deleting, or destroying
data located on Plaintiffs’ computers, computer servers, emails, or internet accounts;
or (3) distributing, publishing, uploading, broadcasting, or otherwise disseminating
materials obtained from Plaintiffs’ computers, computer servers, emails, or internet
accounts, including any alterations of such materials, or any documents falsified or
created to appear as though they are such materials belonging to Plaintiffs.

Plaintiffs further request limited expedited discovery from Defendants
Stonington Strategies LLC (“Stonington”) and Nicolas D. Muzin (“Muzin”) in order
to gather the evidence_including who is distributing Plaintiffs’ stolen emails to
news outlets and how much more private material will be released_necessary in
connection with an upcoming hearing on their request for a preliminary injunction.
II. STATEMENT OF FACTS

Plaintiff Broidy is a businessman and philanthropist who lives in Los
Angeles. (Declaration of Elliott Broidy, sworn to on March 29, 2018 (“Broidy
Decl.”) 111 l, 5.) He is the Chairman and CEO of Broidy Capital Management

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EX PARTE APPLICATION FOR TEMPORARY RESTRAINING OPRDER, ORDER TO SHOW CAUSE FOR
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(“BCM”), a firm that invests in companies, including defense companies (Id. 1111 1-
2.)

Plaintiff Broidy has served in leadership roles in Jewish organizations and the
Republican Party, including serving as Deputy National Chairman of the Republican
National Committee’s Finance Leadership Team and actively supporting the
Republican Jewish Coalition. (Id. 1111 6-7.)

After the events of September ll, 2001, Plaintiff Broidy became active in
anti-terrorism and other national security activities (Id. 1111 6, 8.) For example, in
2017, he sponsored conferences that discussed, among other items, the State of
Qatar’s support for terrorist organizations (Id. 1111 9-11.) Plaintiff Broidy has been
critical of the State of Qatar to United States government officials, including the
President, and has advocated that the United States take a strong stance against the
State of Qatar and other state sponsors of terrorism. (Ia’. 11 14.)

Plaintiff Broidy’s criticism of the State of Qatar and other state sponsors of
terrorism is well known. Plaintiff Broidy served on the Homeland Security
Advisory Council’s Future of Terrorism Task Force, which specifically targeted
“the elimination of safe havens” as an important step that would “impact the future
of terrorism.” (ld. 11 6 & Ex. l.) The State of Qatar, Which hosts, funds, and
otherwise supports four large terrorist and extremist groups (Hamas, Al Qaeda, the
Taliban, and the Muslim Brotherhood), (id. 11 9), is particularly sensitive to that
criticism.

Four significant events that occurred between May 2017 and September 2017
triggered Defendants’ targeting and attack on Plaintiffs. First, on May 25, 2017,
and contemporaneous with conferences Plaintiff Broidy helped to organize to draw
attention to the issue, a bill was introduced in the House of Representatives (H.R.
2712) that would have barred United States assistance to any country assisting
Hamas, and which identified the State of Qatar as such a country. (Broidy Decl. 11

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ll.) Second, on June 5, 2017, many of Qatar’s Arab neighbors, led by Saudi Arabia
and the United Arab Emirates (“UAE”), severed diplomatic relations with and
imposed economic sanctions on the State of Qatar because of its support for
terrorism. (Id. 11 12.) Third, in June 2017 during a meeting of the Republican
National Committee, President Trump criticized the State of Qatar for sponsoring
terrorists, which Defendant the State of Qatar believed was done at the suggestion of
Plaintiff Broidy, who was complimented by President Trump during that speech.

(Ia’. 11 12.) Finally, beginning in September 2017, Plaintiff Broidy (among others)
actively discouraged prominent members of the American Jewish community from
accepting offers from representatives of Defendant State of Qatar to meet the current
Emir of Qatar, Sheikh Tamim bin Hamad Al Thani, at the Fall 2017 session of the
United Nations General Assembly and/or visit Qatar on all-expenses paid visits (Id.
11 16.)

Defendant the State of Qatar reacted to those events by launching an effort,
acting by itself and through the other Defendants and others as its agents and co-
conspirators, to impact public opinion and public policy in the United States in order
to whitewash its record of funding and otherwise supporting terrorism. One of the
first steps taken in the summer of 2017 by Defendant the State of Qatar was to hire
at least ten agents tasked to improve the State of Qatar’s image in Washington D.C.
(See Declaration of Lee Wolosky, sworn to on March 30, 2018 (“Wolosky Decl.”)

11 18.)

One of the agents retained by the State of Qatar was Defendant Stonington,
whose President, Defendant Muzin, focused on building support from the American
Jewish community for the State of Qatar. (Declaration of Joel Mowbray, sworn to
on March 26, 2018 (“Mowbray Decl.”) 1111 8, 11-12.) Defendant Muzin spearheaded
the efforts to get American Jewish leaders to meet with the Emir and visit Qatar.
(See id. 1111 8, ll; Compl. (Doc. 1)1111 12-13, 55-57, 64.)

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Plaintiff Broidy opposed those meetings and trips, and he attempted to
persuade other American Jewish leaders not to participate (Broidy Decl. 11 16.)
Defendant the State of Qatar perceived Plaintiff Broidy as a significant obstacle to
achieving their goals (Ia’. 11 16.) Defendant Muzin identified Plaintiff Broidy as
someone who was frequently identified as an opponent of the State of Qatar at
meetings at its Embassy in Washington, D.C. (See Mowbray Decl. 11 22.)

Defendants’ response to Plaintiff Broidy’s exercise of his right to speak out
on an issue of national and international concern was to engage in a series of
computer hacking attacks on the data and information of Plaintiffs and to
disseminate the stolen information and other altered or forged documents to media
outlets as part of a campaign to damage Plaintiffs personally and professionally and
prevent them from exercising their First Amendment rights to be heard and
influence the United States government on an issue of importance to the country and
the world. (See Declaration of J. Luke Tenery, sworn to on March 30, 2018
(“Tenery Decl.”) 11 9; Broidy Decl. 11 21; Mowbray Decl. 1111 4, 23_28, 32.)

On March 1, 2018, an article appeared in the Wall Street Journal based on
data hacked from Plaintiffs’ computer accounts Similar articles have continued to
appear in other publications, including the Hujj‘ington Post, the New York Times,
Bloomberg, The Associated Press, Newsweek, and the BBC. (See Exs. 3_5, 8-12 to
Wolosky Decl.)l

Defendant Muzin acknowledged his own involvement and the involvement of
the State of Qatar (acting by itself and through Defendants) in this effort to punish
Plaintiff Broidy for his anti-Qatar advocacy. Muzin inculpated himself by stating:

 

l Particularly noteworthy is the fact that the only media outlet to publish an article
based on a completely fabricated document was Al Jazeera, a media organization
associated with the Qatari government and chaired by a member of the Qatari ruling
family. See Will Thorne & Will Jordan, “Trump donor Elliott Broidy named in
Ukraine criminal probe,” Al Jazeera, Mar. 8, 2018. (Broidy Decl. 11 20; Wolosky
Decl.11 8 & Ex. 6.)

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“l did not cause the Broidy stuff, just because l had information about it” and “I
don’t know all the details, but l keep hearing that there’s a lot more coming.”
(Mowbray Decl. 11 30.)

Since that conversation, the New York Times, Bloomberg, T he Hu]j‘ington
Post, Newsweek, and Business Insia'er indicated to Plaintiffs that they had received
from anonymous sources documents that purportedly came from Plaintiffs’
computer files, and planned to write additional stories (Broidy Decl. 11 19; Wolosky
Decl.11 10.) These “anonymous sources” leaked the documents in stages to different
media outlets so that multiple media outlets would continue to publish new stories,
ensuring that media interest would continue. (Broidy Decl. 1111 22~23; Wolosky
Decl. 11 4.)

Forensic experts examined Plaintiffs’ computers and concluded that the
unauthorized attack on those computers originated from Qatar. (Tenery Decl. 1111 ll,
17) The forensic experts also concluded that this attack was carried out by a
sophisticated team experienced in conducting covert cyber-operations. (Id. 11 17.)

The forensic experts also examined the PDFs that had been sent to news
organizations They found that the metadata had been stripped off of them to erase
the identity of the author of the document (Id. 11 13.) However, in one PDF some
metadata was found and indicated that the author of that file was “David.” (Id.)
David is the middle name of the Defendant, Nicolas David Muzin. Examination of
the PDFs also showed the date and time stamps for when the emails had been
converted into PDF files The information showed that the time stamps on the files
was within North American time zones (Id. 11 15.) That means that the individual
who turned the emails into a form that could be distributed to the media was likely
in the United States (ld.) The attackers not only accessed the system but had to
comb through emails and documents in order to curate discreet collections of
documents that would be of interest to reporters (Wolosky Decl. 11 4.) The date and

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time stamps indicate that the individual who converted the stolen emails from native
electronic format into the PDFs was, in fact, in North America. (Tenery Decl. 11 15.)

Defendant Stonington had originally been paid $50,000 per month as a
registered foreign agent of Defendant State of Qatar but, according to FARA filings,
on December ll, 2017 - only days before the attack on Plaintiffs began - that pay
was increased six-fold, to $300,000 per month, for “consulting services to the
Embassy of the State of Qatar in Washington.” (Ex. 23 to Wolosky Decl.) Forensic
experts determined that Plaintiff Rosenzweig’s Gmail account was compromised on
December 27, 2017, sixteen days after the amended FARA filing reflecting the
increased compensation was made. (Tenery Decl. 11 8.)

On March 19, 2018, Plaintiffs’ counsel formally requested that the State of
Qatar take appropriate action to halt the attacks on Plaintiffs’ emails, documents,
and data and to stop Defendants from disseminating Plaintiffs’ emails, documents
and data and/or to assist Plaintiffs in halting dissemination if the hack had been
conducted by a person or entity not authorized to do so by the State of Qatar.
(Wolosky Decl. 11 9.) No response was received to that letter before this action was

commenced on March 26, 2018.2

 

2 On the evening of March 28, after Plaintiffs’ counsel sent letters to the named
Defendants informing them that this application for interim relief would be made,
Plaintiffs’ counsel received an email from Dean M. Dilley of the law firm of Squire
Patton Boggs (US) LLP, stating that “in connection with [his] representation of the
State of Qatar,” he wishes that Plaintiffs “provide the relevant papers to me” and
that “Qatar intends to be heard on any motions filed in this matter.” (Ex. 18 to
Wolosky Decl.) Consequently, Plaintiffs’ counsel will serve this application on Mr.
Dilley. Defendant Stonington has been served with the Summons and Complaint via
its registered agent in Delaware, where it is registered as an LLC. (Exhibit 14 to
Wolosky Decl.). Repeated attempts to serve Defendant Muzin at a Maryland address
that Defendant Muzin has used for business purposes and, upon information and
belief is his place of residence, have been unsuccessful (Ex. 15 to Wolosky Decl.).
We will continue to attempt to serve Defendant Muzin. Defendant Muzin is aware
of the suit and has issued comments to the press in which he referenced the

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MEMO OF P’S AND A’S ISO PLAINTIFFS’ EX PARTE APP FOR TEMPORARY RESTRAINING ORDER, ORDER
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III. ARGUMENT

A. Plaintiffs Satisfy the Legal Standards for a Temporary Restraining
Order and a Preliminary Injunction

A party seeking a preliminary injunction “must establish that he is likely to
succeed on the merits, that he is likely to suffer irreparable harm in the absence of
preliminary relief, that the balance of equities tips in his favor, and that an injunction
is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20
(2008). As shown below, Plaintiffs here meet each of these requirements

Plaintiffs also meet the alternative “sliding scale” approach to evaluating
preliminary injunctions applied in this Circuit, “according to which ‘the elements of
the preliminary injunction test are balanced, so that a stronger showing of one
element may offset a weaker showing of another.” hiQ Labs, Inc. v. Linkea’ln Corp.,
273 F. Supp. 3d 1099, 1105 (N.D. Ca1. 2017) (quoting All. for the Wila’ Rockz'es v.
Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011)). In particular, “the Ninth Circuit ‘has
adopted and applied a version of the sliding scale approach under which”’ a party
“need only show there are ‘serious questions going to the merits’ in order to be
entitled to relief”’ once that party shows that “the balance of hardships tips sharply
in its favor.” Id. (quoting Clear Channel Outa’oor, Inc. v. City of Los Angeles, 340
F.3d 810, 813 (9th Cir. 2003). A “serious question” is one on which the movant
“has a fair chance of success on the merits.” Sierra On-Line, Inc. v. Phoem'x
Software, Inc., 739 F.2d 1415, 1421 (9th Cir. 1984). Under this approach, the party
seeking the injunction must also show that there is a likelihood of irreparable injury

and that the injunction is in the public interest. Cottrell, 632 F.3d at 1135.

 

controversy around Plaintiff Broidy’s backed emails and said that he was “proud of
the work my firm has conducted with Qatar[.]” (Ex. 11 to Wolosky Decl.).

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“The standards for a temporary restraining order and a preliminary injunction
are the same.” Johnson v. Macy, 145 F. Supp. 3d 907, 913 (C.D. Ca1. 2015). The
emphasis of the court is frequently “directed to irreparable harm and the balance of
hardships because the merits of a controversy are often difficult to ascertain and
adjudicate on short notice.” Marz‘inez v. Ziomek, No. CIV S-08-674, 2008 WL
5099590, at *l (E.D. Ca1. Nov. 25, 2008).

B. Plaintiffs Are Likely to Succeed on the Merits of T heir Claims

Plaintiffs are likely to succeed on the merits of each of the seven causes of
action pleaded in their Complaint: (1) violations of the Federal Computer Fraud and
Abuse Act (the “CFAA”), 18 U.S.C. § 1030; (2) violations of the California
Comprehensive Computer Data Access and Fraud Act (the “CCDAFA”), Ca1. Pen.
Code § 502; (3) receipt and possession of stolen property in violation of Ca1. Pen.
Code § 496; (4) invasion of privacy by intrusion upon seclusion; (5) invasion of
privacy by public disclosure of private facts; (6) conversion; and (7) civil

conspiracy. (See Compl. (Doc. 1)1111 82~139.)
1. Plaintiffs Are Likely to Succeed on the Merits of Their CFAA
Claim

The CFAA was enacted to address the very type of conduct engaged in by
Defendants here-namely, the “‘hacking’ or ‘trespass’ onto private, often password-
protected mainframe computers.” hiQ Labs, 273 F. Supp. 3d at 1109 (citation
omitted); see also United States v. Nosal, 676 F.3d 854, 858 (9th Cir. 2012)
(“Congress enacted the CFAA in 1984 primarily to address the growing problem of
computer hacking, recognizing that, ‘[i]n intentionally trespassing into someone
else’s computer files, the offender obtains at the very least information as to how to
break into the computer system.”’ (citation omitted) (alteration in original)).

Plaintiffs plead violations of two separate provisions of the CFAA:

(1) Section 1030(a)(2)(C), which prohibits obtaining information from a protected
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computer through intentional access of that computer without authorization; and
(2) Section 1030(a)(5)(C), which prohibits causation of damage and loss as a result
of accessing a protected computer without authorization Plaintiffs are likely to
succeed on both claims

First, there was unauthorized access to Plaintiffs’ computers, servers, and
electronic communications and documents (See Tenery Decl. 11 9.) Second,
information was taken during those breaches, and both damages and loss resulted
frorn them. (See generally Broidy Decl.) Emails were stolen from Plaintiff Broidy
and BCM’s accounts as a result of these attacks, and began to be distributed to the
media shortly thereafter. (Tenery Decl. 11 12; Broidy Decl. 1111 18-19.) As a result of
these breaches, Plaintiffs have been forced to retain attorneys, forensic investigators
and data security experts, and undertake other expenses to identify the source of the
cyber-attacks and repair the integrity of Plaintiffs’ computer systems after the
attacks (Broidy Decl. 11 25.) Such expenses are ongoing, and qualify as loss under
the CFAA. See SuccessFactors, Inc. v. Softscape, Inc., 544 F. Supp. 2d 975, 980_81
(N.D. Ca1. 2008) (finding that the plaintiff was likely to prevail on its CFAA claim
where the loss claimed was the cost of responding to the offense).

Finally, these attacks can be connected to Defendants. As discussed above,
during the weeks leading up to the hacks on Plaintiffs’ computers, Defendant
Muzin, during meetings with representatives of Defendant the State of Qatar,
identified Plaintiff Broidy as an impediment to the State of Qatar’s public relations
efforts, thereby providing the motive for seeking to discredit him. (See generally
Mowbray Decl.) ln addition to having the motive and opportunity to utilize a
computer hacking and press attack strategy against Plaintiffs, Defendant State of
Qatar has a pattern of using these tactics against critics See Eduard Kovacs,
“Amnesty Warns of Phishing Attacks on Qatar Activists,” Security Week, February
15, 2017.

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Shortly after the attacks, Defendant Muzin expressed knowledge that the State
of Qatar was targeting Plaintiff Broidy, including through hacks. (See id. 1111 13, 22-
24, 28.) Defendant Muzin also expressed knowledge of the use of the emails and
documents taken from those attacks prior to publication of that information in the
media. (Id. 1111 13, 17.) In addition, misleading I.P. addresses were used to mask the
true identity of the Qatari source of the intrusion. (Tenery Decl. 11 l 1). Finally, the
metadata from one file could be connected to an author “David” who was present in
North America at the time of the file’s creation; David is the middle name of
Defendant Muzin. (ld. 1111 14-15.) Taken as a whole, this evidence strongly

suggests that Defendants were responsible for the attacks on Plaintiffs

2. Plaintiffs Are Likely to Succeed on the Merits of Their
California CCDAFA Claim

The CCDAFA prohibits numerous types of unauthorized breaches of
computers, computer systems, or computer networks, including but not limited to:
(1) unauthorized taking, copying, or making use of any data or supporting
documentation, Ca1. Pen. Code § 502(0)(2); (2) adding, altering, damaging, deleting,
or destroying data, id. § 502(c)(4); (3) providing an unauthorized means of access to
computers, computer systems, or computer networks, id. § 502(0)(6); (4) engaging
in or causing unauthorized access, id. § 502(c)(7); and (5) unauthorized use of the
Internet domain name or profile of another individual, corporation, or entity in
connection with the sending of one or more electronic email messages or posts that
causes damage, id. § 502(0)(9).

As with the CFAA, “[o]ne of the legislative purposes of [the CCDAFA] was
to deter and punish . . . browsers and hackers - outsiders who break into a computer
system to obtain or alter the information contained there.” Weingana’ v. Harland
Fin. Solutions, Inc., N0. C-11-3109 EMC, 2012 WL 2327660, at *5 (N.D. Ca1. June
19, 2012) (first alteration and omission in original) (quoting People v. Gentrjy, 234

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Ca1. App. 3d 131, 141 n.8 (Cal. Ct. App. 1991)). Because the CCDAFA “covers at
least as broad a range of unauthorized access to information as the CFAA,” id.,
Plaintiffs are likely to succeed on the merits of their CCDAFA claim for the same
reasons they are likely to succeed on the merits of their CFAA claims See Section
lll.B.l; see also Facebook, Inc. v. ConnectULLC, 489 F. Supp. 2d 1088, 1091
(N.D. Ca1. 2007) (allegations sufficient to allege a section 502 claim where
“ConnectU knowingly accessed Facebook’s website to collect, copy, and use data

found thereon in a manner not authorized or permitted by Facebook”).
3. Plaintiffs Are Likely to Succeed on the Merits of Their Claim
for Possession of Stolen Property under California Penal
Code Section 496

Under California law, it is unlawful to “receive[ 1 any property that has been
stolen or that has been obtained in any manner constituting theft or extortion,
knowing the property to be so stolen or obtained.” Ca1. Penal Code § 496. Section
496 is not just a criminal prohibition - any party injured by a violation of section
496 “may bring an action for three times the amount of actual damages, if any,
sustained by the plaintiff, costs of suit, and reasonable attorney’s fees.” Ia’. § 496(c).

Property is defined broadly, as “1a1nything that could be the subject of a theft
can also be property under section 496.” People v. Gopal, 171 Ca1. App. 3d 524,
541 (Cal. Ct. App. 1985) (finding the receipt of stolen trade secrets a crime and
affirming the conviction below). lndeed, in the context of a conversion claim, the
Ninth Circuit has held that “[p]roperty is a broad concept that includes ‘every
intangible benefit and prerogative susceptible of possession or disposition.”’
Kremen v. Cohen, 337 F.3d 1024, 1030 (9th Cir. 2003) (citation omitted) (finding
that domain names are property). ln consideration of property’s broad definition,
California courts have long interpreted section 496 to prohibit the receipt of stolen
documents See, e.g., Williams v. Saperior Court, 81 Ca1. App. 3d 330, 341 (Cal.

Ct. App. 1978) (avoiding issue of whether information, as opposed to paper, can be

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the subject of theft, but holding that “[t]he original documents comprising the June
Walker file and any photocopies thereof which were in the possession of Hartford,
its attorneys or its investigative agent, were property subject to theft”). Here, the
property involved is not merely information in the abstract sense, but consists of
concrete documents contracts and emails belonging to Plaintiffs which were taken,
held by Defendants and later printed and disseminated to the press That these
documents were digital does not alter the analysis See People v. Kwok, 63 Ca1.
App. 4th 1236, 1251 (Cal. Ct. App. 1998) (“Making an unauthorized copy of a
‘borrowed’ key, which is analogous to making an unauthorized copy of a trade
secret or an unauthorized copy of computer data, destroys the intangible benefit and
prerogative of being able to control access to one’s residence just as thoroughly as
outright theft of the key itself.” (internal quotation marks omitted)).

For many of the same reasons stated above in connection with Plaintiffs’
CFAA claim, Defendants have violated this statute After Plaintiffs gained
unauthorized access to Plaintiffs’ computers servers and electronic
communications and documents they stole those electronic communications and
documents and then disseminated them to various media outlets See Section

lll.B.l. (See Tenery Decl. 1111 11_12; Broidy Decl. 1111 18-19.)
4. Plaintiffs Are Likely to Succeed on the Merits of Their Claim
for Invasion of Privacy by Intrusion upon Seclusion

The action for invasion of privacy by intrusion upon seclusion “has two
elements (1) intrusion into a private place, conversation or matter, (2) in a manner
highly offensive to a reasonable person.” Shulrnan v. Grp. WProa’s., Inc., 955 P.2d
469, 490 (Cal. 1998) (following the Restatement (Second) of Torts). This form of
invasion of privacy “does not depend upon any publicity given to the person whose
interest is invaded or to his affairs” but “consists solely of an intentional
interference with his interest in solitude or seclusion, either as to his person or as to

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his private affairs or concerns of a kind that would be highly offensive to a
reasonable man.” Restatement (Second) of Torts § 652B cmt. a. The invasion may
be “by opening [an individual’s] private and personal email,” among other
invasions Id. § 652B cmt. b.

With respect to the first element, Plaintiffs are likely to prove that Defendants
“‘penetrated some zone of physical or sensory privacy surrounding, or obtained
unwanted access to data about, the plaintiff.”’ Grant v. United States No. 11-cv-
00360, 2011 WL 2367656, at *7 (E.D. Ca1. June 9, 2011) (quoting Shulman, 955
P.2d at 490). The contents of Plaintiffs’ electronic communications and documents
are sensitive in nature, including passwords private personal communications and
confidential business communications and documents (Broidy Decl. 1111 3-4.) To
guard the private and sensitive nature of these materials Plaintiffs protected their
electronic data with passwords (Ia’. 11 4.) For the same reasons as discussed in
Sections lll.B.l, lll.B.2, and IIl.B.3, Plaintiffs are likely to prove that Defendants
unlawfully intruded upon these private and sensitive materials

With respect to the second element, it also is likely that Plaintiffs will be able
to show that Defendants’ conduct was highly offensive to the reasonable person.
Courts have recognized that illegal hacking, particularly with respect to private
email accounts and documents is highly offensive to the reasonable person. See
Coal. for an Airline Passengers ’ Bz`ll of Rights v. Delta Air Lines, Inc., 693 F. Supp.
2d 667, 675 (S.D. Tex. 2010) (concluding that “hacking into a person’s private
computer and stealing personal correspondence would represent an intentional
intrusion . . . [that] would be highly offensive to a reasonable person”). Defendants’
apparent motives for their actions - to retaliate against United States citizens for
criticism of the actions of a foreign state - further support a finding of highly
offensive behavior. Grant, 2011 WL 2367656, at *7 (considering the “degree and
setting of the intrusion, and the intruder’s motives and objectives” in determining

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whether conduct was highly offensive to the reasonable person (internal quotation

marks omitted)).
5. Plaintiffs Are Likely to Succeed on the Merits of Their
Invasion of Privacy by Public Disclosure of Private Facts
Claim

Plaintiffs are also likely to succeed on the merits of their claim against
Defendants for public disclosure of private facts To establish a claim for invasion
of privacy by public disclosure of private facts a party must show: “(1) public
disclosure (2) of a private fact (3) which would be offensive and objectionable to the

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reasonable person and (4) which is not of legitimate public concern. D0e v.
Ganglana' Procls., Inc., 730 F.3d 946, 958 (9th Cir. 2013) (citation and internal
quotation marks omitted).

Plaintiffs will meet all of these elements As discussed in Section lll.B.l
above, the element of public disclosure is met because “it is undisputed” that the
emails were publicly distributed by the hackers to media outlets Ia’. at 959. The
second element is met because Plaintiffs’ email communications were undoubtedly
private The third element is met because the accusations stemming from the leaked
emails have painted Plaintiffs in a light that any reasonable person would find
offensive and objectionable Id. (finding that a disclosure that the plaintiff was tied
to illegal activity was “offensive and objectionable to a reasonable person”).
Though the disclosures are in the news they are not a legitimate matter of public
concern insofar as there was a severe “depth of intrusion” in releasing these private
emails and the Plaintiffs are not public figures as they have not “voluntarily acceded
to a position of public notoriety.” Mz'chaels v. Internet Ent’t Grp., Inc., 5 F. Supp.
2d 823, 841 (C.D. Ca1. 1998). The subject of this case is the private emails of

private citizens where the content of the stolen emails is not limited to public issues

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6. Plaintiffs Are Likely to Succeed on the Merits of Their
Conversion Claim

“ln California, conversion has three elements: (1) ownership or right to
possession of property, (2) wrongful disposition of the property right of another, and
(3) damages.” Don King Proa’uctionS/Kingvision v. Lovato, 911 F. Supp. 419, 423
(N.D. Ca1. 1995). Property subject to this cause of action includes property rights
over intangible property. Ia'. (“[C]ourts . . . have significantly relaxed [the] rule”
that “conversion generally lies only where the property allegedly converted is
tangible.” (emphasis in original)). Indeed, the Ninth Circuit has recognized in the
context of conversion that it “must accommodate facts arising from Internet
transactions within traditional legal doctrines” CRS Recovery, Inc. v. Laxton, 600
F.3d 1138, 1144 (9th Cir. 2010).

Plaintiffs are likely to succeed on the first two of these elements for the same
reasons that they are likely to succeed in their claim for possession of stolen
property. See Section lll.B.3. The third element is met because Plaintiffs have been
harmed, and continue to be harmed, by Defendants’ action. (See generally Broidy

Decl.)
7 . Plaintiffs Are Likely to Succeed 011 the Merits of Their Civil
Conspiracy Claim

“The elements of a civil conspiracy are: (1) formation and operation of the
conspiracy and (2) damage resulting to plaintiff (3) from an act done in furtherance
of the common design.” Tyan, Inc. v. Garcia, No. CV-l5-05443, 2016 WL
7655790, at *4 (C.D. Ca1. May 19, 2016) (citation and internal quotation marks
omitted). Plaintiffs are likely to succeed in demonstrating these elements
Defendant Muzin met with officials and agents of Defendant the State of Qatar and
they discussed the threat posed by Plaintiff Broidy to the State of Qatar’s interests
(See, e.g., Mowbray Decl. 1111 22, 24.) Defendant Muzin, acting directly and through

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Stonington and other agents participated in the conspiracy by providing information
to the State of Qatar about individuals whom he perceived as engaging in anti-Qatar
activities (See generally Mowbray Decl.) Even if Defendant Muzin did not know
the full scope of Defendant the State of Qatar’s illegal plans “‘[t]o be liable, each
participant in the conspiracy need not know the exact details of the plan, but each
participant must at least share the common objective of the conspiracy.”’ Gilbrook
v. Cily of Westrninster, 177 F.3d 839, 856 (9th Cir. 1999), as amended on denial Of
reh ’g (July 15, 1999) (quoting United Steelworkers OfAm. v. Phelps Doa'ge Corp.,
865 F.2d 1539, 1541 (9th Cir. 1989) (en banc)). Defendant Muzin worked with
Qatari officials on plans to discredit the perceived opponents of the State of Qatar,
which included Plaintiff Broidy. (See generally Mowbray Decl.) Plaintiffs are
likely to prevail because “a defendant’s knowledge of and participation in a
conspiracy may be inferred from circumstantial evidence and from evidence of the
defendant’s action.” Gilbrook, 177 F.3d at 856-57.

Defendant Muzin’s discussion of Plaintiff Broidy’s activities with officials of
Defendant the State of Qatar are “[a]cts which seem otherwise innocent [but1 when
viewed in the context of the surrounding circumstances[] may justify an inference of
complicity.” United States v. Calabrese, 825 F.2d 1342, 1348 (9th Cir. 1987)
(discussing a criminal conspiracy) (citation and internal quotation marks omitted).
Even if Defendant Muzin did not participate in the hacking, civil conspiracy is “a
legal doctrine that imposes liability on persons who, although not actually
committing a tort themselves Share with the immediate tortfeasors a common plan
or design in its perpetration.” Accu]mage Diagnostics Corp v. Terarecon, Inc., 260
F. Supp. 2d 941, 947 (N.D. Ca1. 2003) (citation and internal quotation marks
omitted). ln any event, there is evidence that Defendant Muzin did participate in the
activities that took place after the hacking. (See generally Mowbray Decl.)
Ultimately, the culmination of the conspiracy_the hacking and dissemination of

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Plaintiffs’ emails and documents-_caused and continues to cause irreparable
damage to Plaintiffs (Broidy Decl. 11 24.) As a result, Plaintiffs will succeed on

their conspiracy claim.
C. Plaintins Will Sujfer Immediate and Irreparable Harm Absent
Injunctive Relief

There is no question that Plaintiffs have suffered and will continue to suffer
irreparable harm in the absence of injunctive relief. Plaintiffs’ private emails and
documents have been disseminated globally to media organizations who have
published the contents of those stolen materials See supra at 2-5. Worse, altered
and forged versions of those emails and documents also have been disseminated to
the media. Id. (See also Mowbray Decl. 11 33.)

The relentless leak of Plaintiffs’ private communications is undermining their
reputations and “intangible injuries such as damage to . . . goodwill[] qualify as
irreparable harm.” Pyro Spectaculars North, Inc. v. Souza, 861 F. Supp. 2d 1079,
1092 (E.D. Ca1. 2012) (citation and internal quotation marks omitted); see Sn¢hlbarg
Int’l Sales Co. v. John D. Brash & Co., 240 F.3d 832, 841 (9th Cir. 2001) (finding
evidence of goodwill supports a finding of irreparable harm); Hanter Consulting,
Inc. v. Beas, No. SACV 12-1947, 2012 WL 6193381, at *4 (C.D. Ca1. Dec. 10,
2012) (“Harm to business goodwill and reputation is unquantifiable and considered
irreparable.”).

Plaintiffs will suffer “a loss of goodwill and reputation” absent a preliminary
injunction. Am. Trucking Ass ’ns, Inc. v. Cily of Los Angeles, 559 F.3d 1046, 1057
(9th Cir. 2009). Such a harm is irreparable (not monetary in nature) and therefore a
preliminary injunction is required. Additionally, the loss of “personal privacy” has
been recognized as an irreparable harm. See Facebook, Inc. v. Fisher, No. C 09-
05842 JF, 2009 WL 5095269, at *2 (N.D. Ca1. Dec. 21, 2009). As an example, the
unauthorized publication of an individual’s likeness on the internet has been found

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to have “caused and is causing great and irreparable injury to 1the1 plaintiff, in an
amount that cannot be ascertained at this time and, unless restrained, will cause
further irreparable injury, leaving plaintiff with no adequate remedy at law.” Ken
Roberts Co. v. GoTo.Com, No. 99-CV-4775, 2000 WL 33680439, at *4 (N.D. Ca1.
Feb. 8, 2000). The distribution and posting of stolen emails is a similarly severe
harm to the Plaintiffs’ goodwill, reputation, and personal privacy.

The harm to Plaintiffs’ reputation is not speculative, but is part of an ongoing
injury that is extremely likely to continue. See Winter, 555 U.S. at 22 (holding that
the irreparable injury must be “likely in the absence of an injunction”). (See Broidy
Decl. 1111 22-24.) lndeed, the New York Times recently reported that “an anonymous
group critical of Mr. Broidy’s advocacy of American foreign policies in the Middle
East” has been sending “documents which included emails, business proposals and
contracts” to reporters David D. Kirkpatrick and Mark Mazetti, “How 2 Gulf
Monarchies Sought to Influence the White House,” New York Times, Mar. 22, 2018.
Defendant Muzin stated that “there’s a lot more coming.” (Mowbray Decl. 11 30.)

Thus dissemination of Plaintiffs’ emails and documents is ongoing.
D. T he Balance of Equities and Consideration of the Public Interest T ip
Sharply in Plaintiffs ’ Favor

1. Defendants Will N0t Be Prejudiced by a Temporary
Restraining Order and Preliminary Injunction

Defendants’ interest in unauthorized access to Plaintiffs’ electronic data,
invading Plaintiffs’ privacy, and disseminating private and falsified information to
the media is far outweighed by Plaintiffs’ interest in preserving the privacy of their
affairs and avoiding the scrutiny and harassment that has been and will be attendant
in having their confidential communications and documents publicly aired. lt is
well-settled that injunctions focused on preventing a defendant from acting
unlawfully do not cause “any significant hardship to 1a1 defendant, because [such

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injunctions] essentially only require [the defendant] to abide by existing law.”
Souza, 861 F. Supp. 2d at 1092 (noting that “any injunction issued would be focused
on preventing defendant from unlawfully using [plaintiff s1 trade secrets to solicit
[plaintiff’ s1 customers”); see also Merrill Lynch, Pierce, Fenner & Srnith Inc. v.
Chung, No. CV 01-00659, 2001 WL 283083, at *6 (C.D. Ca1. Feb. 2, 2001) (“[T]he
balance of hardships tips heavily in favor of granting injunctive relief because an
injunction merely prohibits Defendants from misappropriating the trade secrets of
Merrill Lynch, and requires them to comply with the reasonable terms of their

Agreements”).
2. Plaintiffs Have A Strong Interest in the Protection of Their
Private Electronic Communications and Documents

Conversely, Plaintiffs would suffer significant harm in the absence of
injunctive relief. Defendants not only have wrongfully accessed Plaintiffs’
computers emails computer servers and internet accounts and stolen private
electronic communications and documents but they also have disseminated the
stolen information as well as alterations and forgeries of the stolen information to
the media. The releases to the media have been staggered over time and media
inquiries are ongoing, (see Wolosky Decl. 11 4; Broidy Decl. 11 22), so Plaintiffs have
every reason to believe that additional disclosures are forthcoming in the absence of
an injunction.

3. An Injunction Against Defendants is in the Public Interest

Finally, the public interest weighs strongly in favor of granting Plaintiffs’
motion. Both the United States Congress and California Legislature have
recognized a strong public interest in guarding against cyber-attacks and various
forms of hacking by enacting multiple statutes imposing civil and criminal liability
for such conduct. See Computer Fraud and Abuse Act, 18 U.S.C. § 1030; California
Comprehensive Computer Data Access and Fraud Act, Ca1. Pen. Code § 502; hiQ

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Labs, 273 F. Supp. 3d at 1109; Weingand, 2012 WL 2327660, at *5. Similarly,
California recognizes a strong right to privacy, a right contained both in California’s
Constitution and its common law. See Ca1. Const. Art. l, § 1 (“All people are by
nature free and independent and have inalienable rights Among those are . . .
privacy.”); Hill v. Nat’l Collegiate Athletic Ass ’n, 865 P.2d 633, 647 (Cal. 1994)
(explaining, although discussing the common law privacy right’s limiting principles
that “[t]he privacy tort seeks to vindicate multiple and different interests that range
from freedom to act without observation in a . . . private place to the ability to
control the commercial exploitation of a name or picture”).

The public interest in this injunction is further enhanced because Plaintiffs
appear to have been targeted as a result of Plaintiff Broidy’s exercise of his First
Amendment rights to speak out against the State of Qatar and meet with public
officials about those concerns See, e.g., Entler v. Gregoire, 872 F.3d 1031, 1043
(9th Cir. 2017) (recognizing the right to petition for redress of grievances as “‘one
of the most basic of all constitutional rights”’ (quoting Meyer v. Bd. of Cly.

Comm ’rs, 482 F.3d 1232, 1243 n.5 (10th Cir. 2007)); Klein v. Cily ofClemente, 584
F.3d 1196, 1208 (9th Cir. 2009) (recognizing a “‘significant public interest’ in
upholding free speech principles” because of the potential impact to the free
expression interests of third parties (citation omitted)).

Conversely, Defendants have no legitimate interest in continuing their
unlawful conduct. Furthermore, to the extent that Defendants may suggest that their
dissemination of materials to the media is itself protected by the First Amendment,
no such right attaches here. ln Bartnicki v. Vopper, the Supreme Court held that the
First Amendment prevented liability for defendants who lawfully acquired and
subsequently broadcasted a recorded conversation about a threat of violence during
a public school teacher’s labor negotiation 532 U.S. 514, 518 (2001). Since
Bartnickz', courts have held that the First Amendment provides no shield to those

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who, like Defendants intentionally search out and subsequently obtain, and then
privately disseminate to organizations around the world, information that they
understand was illegally acquired See Quigley v. Rosenthal, 327 F.3d 1044, 1067-
68 (10th Cir. 2003) (finding no protection where defendant knew information was
illegally acquired); cf. Peavy v. WFAA-TV, Inc., 221 F.3d 158, 193 (5th Cir. 2000)
(finding no protection for television station that was involved in illegal acquisition
of intercepted telephone conversations). To the contrary, Defendants’ active effort
here to purloin confidential private information and make it public seeks to compel
the public disclosure of information the Plaintiffs desire (and have a right) to keep
private, thus turning the principles underlying the First Amendment on their head. lt
is well-settled that the First Amendment “generally protects the right not to speak as
well as the right to speak.” Rubz'n v. Coors Brewing Co., 514 U.S. 476, 492 (1995).

lndeed, “1t]he essential thrust of the First Amendment is to prohibit improper
restraints on the voluntary public expression of ideas; it shields the man who wants
to speak or publish when others wish him to be quiet. There is necessarily, and
within suitably defined areas a concomitant freedom not to speak publicly, one
which serves the ultimate end as freedom of speech in its affirmative aspect.”
Harper & Row, Publishers, Inc. v. Nation Ents., 471 U.S. 539, 559 (1985) (Citation
and internal quotation marks omitted) (emphasis in original).

E. T he Court Should N0t Require a B0nd

A “district court may dispense with the filing of a bond when it concludes
there is no realistic likelihood of harm to the defendant from enjoining his or her
conduct.” Jorgenson v. Cassiday, 320 F.3d 906, 919 (9th Cir. 2003). Here,
Plaintiffs seek merely to enjoin Defendants from their further dissemination of
Plaintiffs’ illegally obtained emails and documents Defendants have no legitimate
interest in continuing to access alter, damage, forge, or disseminate Plaintiffs’
private electronic accounts communications and documents Accordingly,

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Defendants cannot suffer any cognizable harm from an order enjoining this conduct,

and this Court should not require a bond as a condition of the relief sought.

F. T he Court Shoald Grant Plaintiffs ’ Request for Limited Expedited
Discovery

Good cause exists here for the Court to grant Plaintiffs’ request to conduct
limited discovery right away, despite the fact that the parties have not engaged in a
Federal Rule of Civil Procedure 26(f) conference See Fed. R. Civ. P. 26(d)(1);
SATA GmbH & Co. v. Wenzhou New Century Int’l, No. CV 15-08157, 2015 WL
6680807, at *ll (C.D. Ca1. Oct. 19, 2015) (applying good cause standard to allow
discovery before Rule 26(f) conference). Courts may consider the following factors

when determining whether good cause exists:
(1) whether a preliminary injunction is pending; (2) the
breadth of the discovery requests (3) the purpose for
requesting the expedited discovery; (4) the burden on the
responding party in complying with the request; and
(5) how far in advance of the typical discovery process the
request was made

Id. (citation and internal quotation marks omitted) These factors weigh heavily in
favor of Plaintiffs

First, there is a preliminary injunction motion pending, which strongly favors
permitting expedited discovery. See Rutter Group, F ederal Civil Procedure Before
Trial, Calif.` & 9”’ Cir. Editions § 13:157 (noting in the preliminary injunction
context that parties may need to engage in discovery to prepare for the hearing).
Second, Plaintiffs’ requests are narrowly tailored to matters and time periods raised
in Plaintiffs’ motion and supporting declarations particularly, a limited set of
discovery requests to, and conducting the depositions of, Defendants Stonington and
Muzin, as set forth in Plaintiffs’ proposed discovery requests (no discovery is being
sought of Defendant State of Qatar at this time). Third, given the limited scope, the

burden on Defendants Stonington and Muzin, who are parties would be minimal.

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Finally, the Court should not accord weight to “how far in advance of the typical
discovery process the request was made” because, as in SA TA GmbH, the discovery
requested is “narrowly tailored to obtain information relevant and ‘essential’ for the
preliminary injunction.” SATA GmbH, 2015 WL 66808007, at *11.

For these reasons the relevant factors strongly favor allowing expedited
discovery.
IV. CONCLUSION

For the foregoing reasons Plaintiffs respectfully ask this Court to grant their
motion and enter a temporary restraining order that prohibits Defendants as well as
each and every one of their officers agents employees representatives and all
persons acting in concert with them, from (1) accessing or causing access to
Plaintiffs’ computers computer servers emails or internet accounts (2) adding,
altering, damaging, deleting, or destroying data located on Plaintiffs’ computers
computer servers emails or internet accounts or (3) distributing, publishing,
uploading, broadcasting, or otherwise disseminating materials obtained frorn
Plaintiffs computers computer servers emails or internet accounts including any
alterations of such materials or any documents falsified or created to appear as
though they are such materials belonging to Plaintiffs The Court further should not
require a bond as a condition of this relief. Finally, Plaintiffs ask this Court to grant
their request for an order to show cause as to why preliminary injunctive relief
should not issue, as well as an order granting their request for limited expedited

discovery.

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DATED: April 2, 2018 Respectfully submitted,

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By
LEE S. WOLOSK
Attorneys for Plaintiffs

 

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